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 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF PUERTO RICO / TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS PARA EL
 DISTRITO DE PUERTO RICO
  Fill in this information to identify the case (Select only one Debtor per claim form). /
  Llene esta información para identificar el caso (seleccione sólo un deudor por formulario de reclamación).

      Commonwealth of Puerto Rico                                                 Case No. 17-bk-03283          Petition Date:
       El Estado Libre Asociado de Puerto Rico                                                                   May 3, 2017

      Puerto Rico Sales Tax Financing Corporation (COFINA)                        Case No. 17-bk-03284          Petition Date:
       La Corporación del Fondo de Interés Apremiante de Puerto Rico                                             May 5, 2017

      Puerto Rico Highways and Transportation Authority                           Case No. 17-bk-03567          Petition Date:
       La Autoridad de Carreteras y Transportación de Puerto Rico                                                May 21, 2017


      Employees Retirement System of the Government of the                        Case No. 17-bk-03566          Petition Date:
       Commonwealth of Puerto Rico                                                                               May 21, 2017
       El Sistema de Retiro de los Empleados del Gobierno del Estado
       Libre Asociado de Puerto Rico

      Puerto Rico Electric Power Authority                                        Case No. 17-bk-04780          Petition Date:
       La Autoridad de Energía Eléctrica de Puerto Rico                                                          July 2, 2017




 Modified Official Form 410 / Formulario Oficial 410 Modificado
 Proof of Claim / Evidencia de reclamación                                                                                                           04/16
 Read the instructions before filling out this form. This form is for making a claim for payment in a Title III case. Do not use this form to make a
 request for payment of an administrative expense, other than a claim entitled to administrative priority pursuant to 11 U.S.C. § 503(b)(9). Make
 such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy or subject to confidentiality on this form or on any attached documents. Attach redacted
 copies of any documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts,
 judgments, mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not
 available, explain in an attachment.
 Lea las instrucciones antes de completar este formulario. Este formulario está diseñado para realizar una reclamación de pago en un caso en
 virtud del Título III. No utilice este formulario para solicitar el pago de un gasto administrativo que no sea una reclamación que reúna los
 requisitos para ser tratada como prioridad administrativa conforme al Título 11 § 503(b) (9) del U.S.C. Ese tipo de solicitud debe realizarse de
 conformidad con el Título 11 § 503 del U.S.C.
 Quienes presenten la documentación deben omitir o editar información que reúna los requisitos para ser tratada con privacidad o confidencialidad en
 este formulario o en cualquier otro documento adjunto. Adjunte copias editadas de cualquier otro documento que respalde la reclamación, tales como
 pagarés, órdenes de compra, facturas, balances detallados de cuentas en funcionamiento, contratos, resoluciones judiciales, hipotecas y acuerdos de
 garantías. No adjunte documentos originales, ya que es posible que los documentos adjuntos se destruyan luego de analizarlos. En caso de que los
 documentos no estén disponibles, explique los motivos en un anexo.

 Fill in all the information about the claim as of the Petition Date.

 Complete toda la información acerca de la reclamación a la fecha en la que se presentó el caso.

 Part 1 / Parte 1            Identify the Claim / Identificar la reclamación                DTOP CESCO CAROLINA - DTOCBP
1. Who is the current
   creditor?

   ¿Quién es el
                               P.D.C.M ASSOCIATES, S.E.
                               ____________________________________________________________
   acreedor actual?              Name of the current creditor (the person or entity to be paid for this claim)
                                 Nombre al acreedor actual (la persona o la entidad a la que se le pagará la reclamación)

                                 Other names the creditor used with the debtor
                                 Otros nombres que el acreedor usó con el deudor




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2. Has this claim been
   acquired from
                                  No / No
   someone else?                  Yes. From whom?
                                     Sí. ¿De quién?
   ¿Esta reclamación
   se ha adquirido de
   otra persona?

3. Where should notices          Where should notices to the creditor be sent?                          Where should payments to the creditor be sent?
   and payments to the           ¿A dónde deberían enviarse las notificaciones al                       (if different)
   creditor be sent?             acreedor?                                                              ¿A dónde deberían enviarse los pagos al
                                                                                                        acreedor? (En caso de que sea diferente)

   Federal Rule of
   Bankruptcy Procedure         P.D.C.M ASSOCIATES, S.E.
   (FRBP) 2002(g)
                                Name / Nombre                                                          Name / Nombre
   ¿A dónde deberían            PO BOX 190858
   enviarse las
   notificaciones al            Number / Número        Street / Calle                                  Number / Número        Street / Calle
   acreedor?
                                SAN JUAN PR                                 00919-0858
   Norma federal del            City / Ciudad         State / Estado        ZIP Code / Código postal   City / Ciudad         State / Estado        ZIP Code / Código postal
   procedimiento de
   quiebra (FRBP, por
   sus siglas en inglés)
                                (787) 641-8200
   2002(g                       Contact phone / Teléfono de contacto                                   Contact phone / Teléfono de contacto

                                dkopel@realestatepr.net
                                Contact email / Correo electrónico de contacto                         Contact email / Correo electrónico de contacto

4. Does this claim amend          No / No
   one already filed?             Yes. Claim number on court claims registry (if known)
   ¿Esta reclamación es              Sí. Número de reclamación en el registro de reclamaciones judiciales (en caso de saberlo)
    una enmienda de otra             Filed on / Presentada el                                    (MM /DD/YYYY) / (DD/MM/AAAA)
    presentada
    anteriormente?

5. Do you know if anyone          No / No
   else has filed a proof of      Yes. Who made the earlier filing?
   claim for this claim?
                                     Sí. ¿Quién hizo la reclamación anterior?                                 __________________________________________
   ¿Sabe si alguien más
   presentó una evidencia
   de reclamación para
   esta reclamación?


 Part 2 / Parte 2:            Give Information About the Claim as of the Petition Date
                              Complete toda la información acerca de la reclamación desde la fecha en la que se presentó el caso.
6. Do you have a claim
   against a specific agency       No / No
   or department of the
   Commonwealth of Puerto          Yes. Identify the agency or department and contact name. (A list of Commonwealth of Puerto Rico agencies and
   Rico?                              departments is available at: https://cases.primeclerk.com/puertorico/.)
                                      Sí. Identifique el organismo o departamento y nombre del representante. (Una lista de agencias y departamentos del
   ¿Tiene una reclamación             Estado Libre Asociado de Puerto Rico está disponible en: https://cases.primeclerk.com/puertorico/).
   en contra de algún
   organismo o
   departamento específico
   del Estado Libre Asociado           DTOP CESCO CAROLINA - DTOCBP
                                      _______________________________________________________________________________________________
   de Puerto Rico?

7. Do you supply goods             No / No
   and / or services to the        Yes. Provide the additional information set forth below / Sí. Proporcionar la información adicional establecida a
   government?
                                      continuación:
   ¿Proporciona bienes y /
   o servicios al gobierno?           Vendor / Contract Number | Número de proveedor / contrato: _______________________________

                                      List any amounts due after the Petition Date (listed above) but before June 30, 2017:
                                      Anote la cantidad que se le debe después de la fecha que se presentó el caso (mencionados anteriormente), pero antes
                                      del 30 de junio de 2017 $ ____________________




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8. How much is the claim?             $   437,284.26                        . Does this amount include interest or other charges?
                                                                             ¿Este importe incluye intereses u otros cargos?
   ¿Cuál es el importe de la                                                  No / No
   reclamación?
                                  RENT BASIC:             $248,427.06         Yes. Attach statement itemizing interest, fees, expenses, or other
                                  RENT ADD. -ELECTRICITY: $185.107.20                 charges required by Bankruptcy Rule 3001(c)(2)(A).
                                  RENT ADD. -WATER:       $ 3,750.00             Sí. Adjunte un balance con intereses detallados, honorarios,
                                                                                     gastos u otros cargos exigidos por la Norma de Quiebras
                                                                                     3001(c)(2)(A).

9. What is the basis of the         Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?                          Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c). Limit
                                    disclosing information that is entitled to privacy, such as health care information.
    ¿Cuál es el
    fundamento de la                Por ejemplo: Venta de bienes, préstamo de dinero, arrendamiento, prestación de servicios, lesiones personales u
    reclamación?                    homicidio culposo, o tarjetas de crédito. Adjunte copias editadas de cualquier documento que respalde la
                                    reclamación conforme a lo exigido por la Norma de Quiebras 3001(c). Limite la divulgación de información que
                                    reúne los requisitos para ser tratada con privacidad, tal como información sobre atención médica.


                                   LEASE CONTRACT - DTOP CESCO CAROLINA

10. Is all or part of the claim     No / No
    secured?                        Yes. The claim is secured by a lien on property.
                                       Sí. La reclamación está garantizada por un derecho de retención sobre un bien.
    ¿La reclamación está
    garantizada de manera                    Nature of property / Naturaleza del bien:
    total o parcial?                          Motor vehicle / Vehículos
                                              Other. Describe:
                                                 Otro. Describir:

                                             Basis for perfection / Fundamento de la realización de pasos adicionales:

                                             ____________________________________________________________________________________
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                             been filed or recorded.)
                                             Adjunte copias editadas de documentos, si los hubiere, que demuestre la realización de pasos adicionales
                                             para hacer valer un derecho de garantía (por ejemplo, una hipoteca, un derecho de retención, un
                                             certificado de propiedad, una declaración de financiamiento u otro documento que demuestre que se ha
                                             presentado o registrado un derecho de retención.

                                             Value of property / Valor del bien:         $
                                             Amount of the claim that is secured /
                                             Importe de la reclamación que está garantizado: $

                                             Amount of the claim that is unsecured /
                                             Importe de la reclamación que no está garantizado: $
                                             (The sum of the secured and unsecured amounts should match the amount in line 7.)
                                             (La suma del importe garantizado y no garantizado debe coincidir con el importe de la línea 7.)

                                             Amount necessary to cure any default as of the Petition Date /
                                             Importe necesario para compensar toda cesación de pago a la fecha que se presentó el caso : $


                                             Annual Interest Rate (on the Petition Date)
                                             Tasa de interés anual (cuando se presentó el caso)            %
                                              Fixed / Fija
                                              Variable / Variable




11. Is this claim based on a        No / No
    lease?
                                    Yes. Amount necessary to cure any default as of the Petition Date.
    ¿Esta reclamación está             Sí. Importe necesario para compensar toda cesación de pago a partir de la que se presentó el caso$ 437,284.26
    basada en un
    arrendamiento?
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12. Is this claim subject to a    No / No
    right of setoff?
                                  Yes. Identify the property /
   ¿La reclamación está              Sí. Identifique el bien:
   sujeta a un derecho de
   compensación?

13. Is all or part of the         No / No
    claim entitled to
    administrative priority       Yes. Indicate the amount of your claim arising from the value of any goods received                         $ ____________________
    pursuant to                     by the debtor within 20 days before the Petition Date in these Title III case(s), in
    11 U.S.C. § 503(b)(9)?          which the goods have been sold to the debtor in the ordinary course of such
                                    debtor’s business. Attach documentation supporting such claim.
   ¿La reclamación, total
   o parcial, cumple los            Sí. Indique el importe de la reclamación que surge del valor de cualquier bien
   requisitos para ser              recibido por el deudor dentro de los 20 días anteriores a la fecha de inicio en estos
   tratada como prioridad           casos del Título III, en el que los bienes se han vendido al deudor en el transcurso
   administrativa                   normal de los negocios del deudor. Adjunte la documentación que respalda dicha
   conforme al Título 11 §          reclamación.
   503(b)(9) del U.S.C.?


                                 Sign Below / Firmar a continuación
 Part 3 / Parte 3:

 The person completing            Check the appropriate box / Marque la casilla correspondiente:
 this proof of claim must
 sign and date it.                   I am the creditor. / Soy el acreedor.
 FRBP 9011(b).                       I am the creditor’s attorney or authorized agent. / Soy el abogado o agente autorizado del acreedor.
 If you file this claim              I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004. / Soy el síndico, el deudor o su agente
 electronically, FRBP                 autorizado. Norma de quiebra 3004.
 5005(a)(2) authorizes               I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005. / Soy el garante, fiador, endosante u otro
 courts to establish local            codeudor. Norma de quiebra 3005.
 rules specifying what a
 signature is.                   I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
                                 the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 La persona que complete
 esta evidencia de               Comprendo que una firma autorizada en esta Evidencia de reclamación se considera como un reconocimiento de que
 reclamación debe firmar         al calcular el importe de la reclamación, el acreedor le proporcionó al deudor crédito para todo pago recibido para
 e indicar la fecha.             saldar la deuda
 FRBP 9011(b).                    I have examined the information in this Proof of Claim and have a reasonable belief that the information is
 Si presenta esta reclamación     true and correct.
 de manera electrónica, la       He leído la información en esta Evidencia de reclamación y tengo motivos razonables para suponer que la
 FRBP 5005(a)(2) autoriza al     información es verdadera y correcta.
 tribunal a establecer normas
 locales para especificar qué     I declare under penalty of perjury that the foregoing is true and correct. / Declaro bajo pena de perjurio que
 se considera una firma.          lo que antecede es verdadero y correcto.

                                 Executed on date / Ejecutado el
                                                                         26/MAY/2018
                                                                            _______                   (MM/DD/YYYY) / (DD/MM/AAAA)

                                                          /s/ Rosendo E. Miranda Lopez
                                      Signature / Firma_____________________________________________________________________________________________

                                 Print the name of the person who is completing and signing this claim / Escriba en letra de imprenta el nombre de
                                 la persona que completa y firma esta reclamación:


                                 Name
                                                       ROSENDO                               E.                                   MIRANDA LOPEZ
                                                       First name / Primer nombre           Middle name / Segundo nombre          Last name / Apellido

                                 Title / Cargo
                                                       CEDITOR'S ATTORNEY
                                 Company / Compañía
                                                       Identify the corporate servicer as the company if the authorized agent is a servicer.
                                                       Identifique al recaudador corporativo como la compañía si el agente autorizado es un recaudador.


                                 Address / Dirección
                                                       PO BOX 190006
                                                       Number / Número              Street / Calle
                                                       SAN JUAN
                                                       _________________________  PR        00919-0006
                                                                                 ___________________________
                                                       City / Ciudad                                            State / Estado           ZIP Code / Código postal

                                 Contact phone / Teléfono de contacto
                                                                        787-724-3393                 Email / Correo electrónico
                                                                                                                                  r.miranda @rmirandalex.net



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